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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH DAKOTA


UNITED STATES OF AMERICA,
                                                        5:20-cr-50095-JLV
       Plaintiff,

vs.                                              DEFENDANT’S MOTION FOR
                                                EXTENSION OF TIME TO FILE
CODY WAYNE HOPKINS,                            SEALED LETTERS OF SUPPORT

       Defendant.


      Comes now Defendant, Cody Wayne Hopkins, by and through his attorney,

Assistant Federal Public Defender Alecia E. Fuller, respectfully moves the Court for

its order extending until March 9, 2023, the time by which the Defendant may file

sealed letters of support with the Court.

      As grounds and good cause for this motion, the Defendant states:

      1.     On January 26, 2023, United States Probation filed with the Court the

             Draft Presentence Report (Docket 88).

      2.     At the time of this filing the deadline for sealed letters of support was

             set for February 23, 2023.

      3.     Counsel is in the process of contacting and acquiring letters from

             family members of the Defendant.

      Wherefore, Defendant requests this Court issue an Order extending the time

within which he may file support letters for his sentencing by two (2) weeks.
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    Dated this 23rd day of February 2023.

                             Respectfully submitted,

                             JASON J. TUPMAN
                             Federal Public Defender
                             By:

                             /s/ Alecia E. Fuller
                             Alecia E. Fuller
                             Assistant Federal Public Defender
                             Attorney for Defendant
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